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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA,

              v.                             Criminal Action No. 19-cr-18 (ABJ)

ROGER J. STONE, JR.,

                       Defendant.

                           ROGER J. STONE, JR.’s RESPONSE TO
                          COURT’S JUNE 26, 2020 MINUTE ORDER

       Roger J. Stone, Jr. consents to the unsealing of the Court’s Sealed Memorandum

Opinion, dated June 26, 2020 (Dkt. # 389).

Dated: June 26, 2020

Respectfully Submitted,

 /s/ Seth Ginsberg                               /s/ Grant J. Smith
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